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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


                                                    )
HONEYWELL INTERNATIONAL INC.                        )
and HONEYWELL INTELLECTUAL                          )
PROPERTIES INC.,                                    )
                                                    )   Civil Action No. 2:07-CV-463 (TJW)
       Plaintiffs,                                  )
                                                    )   JURY TRIAL DEMANDED
               v.                                   )
                                                    )
PHILIPS LUMILEDS LIGHTING CO.                       )
and CREE, INC.,                                     )
                                                    )
       Defendants.                                  )



                      COMPLAINT FOR PATENT INFRINGEMENT

       For their Complaint, Plaintiffs Honeywell International Inc. (“Honeywell International”)

and Honeywell Intellectual Properties Inc. (“HIPI”) allege as follows:

                                        THE PARTIES

       1.      Plaintiff Honeywell International is a corporation organized and existing under

the laws of the State of Delaware with a principal place of business and address at 101 Columbia

Road, P.O. Box 2245, Morristown, New Jersey, 07962-2245.

       2.      Plaintiff HIPI is an affiliate of, and ultimately a wholly owned subsidiary of,

Honeywell International. HIPI is the owner of U.S. Patent No. 6,373,188 B1 (the “‘188 patent”)

at issue in this action, and has granted Honeywell International an exclusive license in the ‘188

patent. HIPI is a corporation organized and existing under the laws of the State of Arizona with

a principal place of business at 960 W. Elliott Rd., Tempe, Arizona 85284.           (Honeywell

International and HIPI will be referred to collectively herein as “Honeywell.”)
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          3.    On information and belief, Defendant Philips Lumileds Lighting Co., LLC

(“Philips Lumileds”) is a Delaware Corporation with a principal place of business at 370 W.

Trimble Road, San Jose, California, 95131 with operations in the Netherlands, Japan, Malaysia

and Singapore, and with sales offices around the world.

          4.    On information and belief, Defendant Cree, Inc. (“Cree”) is a North Carolina

Corporation with a principal place of business at 4600 Silicon Drive, Durham, North Carolina,

27703 with operations in North Carolina, California, Sweden, Hong Kong, Japan, and Austria

and has relationships with distributors throughout North America.

          5.    Collectively, Philips Lumileds and Cree shall be referred to herein as “the

Defendants.”

                                JURISDICTION AND VENUE

          6.    This action arises under the United States Patent Laws, codified at 35 U.S.C. §§ 1

et seq.

          7.    This Court has exclusive subject matter jurisdiction over this action under 28

U.S.C. §§ 1331 and 1338(a).

          8.    This Court has personal jurisdiction over the Defendant Philips Lumileds because

Philips Lumileds has transacted business in Texas, has committed acts of infringement in Texas,

and is continuing to commit acts of infringement in Texas.

          9.    This Court has personal jurisdiction over the Defendant Cree because Cree has

transacted business in Texas, has committed acts of infringement in Texas, and is continuing to

commit acts of infringement in Texas.

          10.   Venue is proper in this District as to each of the Defendants, pursuant to 28

U.S.C. §§ 1391(b), 1391(c) and 1400(b).



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                      INFRINGEMENT OF U.S. PATENT NO. 6,373,188

       11.      On April 16, 2002, U.S. Patent No. 6,373,188 B1 entitled “Efficient Solid-State

Light Emitting Device With Excited Phosphors For Producing A Visible Light Output,” was

duly and lawfully issued by the U.S. Patent and Trademark Office to Burgess R. Johnson and

Wei Yang. A true and correct copy of the ‘188 patent is attached hereto as Exhibit A.

       12.      Honeywell International and HIPI together own all substantial rights in the ‘188

patent, including the right to exclude others from making, using, importing, offering for sale, or

selling products covered by one or more claims of the ‘188 patent, the right to bring actions for

infringement of the ‘188 patent, and the right to demand damages as well as injunctive relief.

                      COUNT I: PHILIPS LUMILEDS’ INFRINGEMENT

       13.      Honeywell repeats and re-alleges paragraphs 1 through 12 above, as if fully set

forth herein.

       14.      Philips Lumileds has infringed and is continuing to infringe, literally and/or under

the doctrine of equivalents, and/or is inducing infringement and/or is a contributory infringer of

the ‘188 patent by its manufacture, use, sale, offer for sale, importation and/or distribution of

lighting products incorporating light emitting diodes or LEDs that are covered by at least claim

28 of the ‘188 patent, and/or by its sale of such lighting products that are incorporated into

products, with the knowledge and intention that such products would be sold throughout the

United States, including in Texas and in this District. On information and belief, such products

include, for example and without limitation, automobiles, emergency lighting systems, general

lighting, commercial lighting and flashlights.

       15.      Philips Lumileds’ acts constitute direct infringement, inducement to infringe

and/or contributory infringement, literally and/or under the doctrine of equivalents.



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       16.      Because these acts of infringement by Philips Lumileds have caused damage to

Honeywell, Honeywell is entitled to recover from Philips Lumileds the damages sustained by

Honeywell as a result of Philips Lumileds’ wrongful infringement.

       17.      Philips Lumileds’ infringing activities are willful, entitling Honeywell to treble

damages under 35 U.S.C. § 284.

       18.      Philips Lumileds’ infringement warrants a finding that this is an exceptional case,

entitling Honeywell to recover its attorney fees and expenses under 35 U.S.C. § 285.

                            COUNT II: CREE’S INFRINGEMENT

       19.      Honeywell repeats and re-alleges paragraphs 1 through 18 above, as if fully set

forth herein.

       20.      Cree has infringed and is continuing to infringe, literally and/or under the doctrine

of equivalents, and/or is inducing infringement and/or is a contributory infringer of the ‘188

patent by its manufacture, use, sale, offer for sale, importation and/or distribution of lighting

products incorporating light emitting diodes or LEDs that are covered by at least claim 28 of the

‘188 patent, and/or by its sale of such lighting products that are incorporated into products, with

the knowledge and intention that such products would be sold throughout the United States,

including in Texas and in this District. On information and belief, such products include, for

example and without limitation, mobile phones, automobiles, digital still cameras, outdoor

displays, general lighting, outdoor lighting, aircraft lighting, traffic signal lighting, crosswalk

signs, televisions, and monitors.

       21.      Cree’s acts constitute direct infringement, inducement to infringe and/or

contributory infringement, literally and/or under the doctrine of equivalents.




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       22.     Because these acts of infringement by Cree have caused damage to Honeywell,

Honeywell is entitled to recover from Cree the damages sustained by Honeywell as a result of

Cree’s wrongful infringement.

       23.     Cree’s infringing activities are willful, entitling Honeywell to treble damages

under 35 U.S.C. § 284.

       24.     Cree’s infringement warrants a finding that this is an exceptional case, entitling

Honeywell to recover its attorney fees and expenses under 35 U.S.C. § 285.

                                       JURY DEMAND

       Honeywell demands a trial by jury.

                                   PRAYER FOR RELIEF

       WHEREFORE, Honeywell International Inc. and Honeywell Intellectual Properties Inc.

pray for relief as follows:

               (a)     Judgment that Philips Lumileds has directly infringed, induced others to

       infringe, and/or has contributed to the infringement of the ‘188 patent;

               (b)     Judgment that Philips Lumileds’ infringement has been and continues to

       be willful;

               (c)     A permanent injunction enjoining Philip Lumileds, and its officers,

       directors, employees, agents, consultants, contractors and all others acting in privity with

       Philips Lumileds from further direct and/or contributory infringement of the ‘188 patent,

       and/or from inducing others to infringe the ‘188 patent;

               (d)     An award to Honeywell of damages adequate to compensate for the

       infringement by Philips Lumileds, in an amount to be proven at trial, together with pre-

       judgment and post-judgment interest and costs, as fixed by the Court;



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           (e)      Trebling the damages due to Philips Lumileds’ willful infringement,

    pursuant to 35 U.S.C. § 284;

           (f)      A finding that, with respect to Philips Lumileds, this case has been

    exceptional, and an award to Honeywell of its reasonable costs and attorney fees pursuant

    to 35 U.S.C. § 285;

           (g)      Judgment that Cree has directly infringed, induced others to infringe,

    and/or has contributed to the infringement of the ‘188 patent;

           (h)      Judgment that Cree’s infringement has been and continues to be willful;

           (i)      A permanent injunction enjoining Cree, and its officers, directors,

    employees, agents, consultants, contractors and all others acting in privity with Cree from

    further direct and/or contributory infringement of the ‘188 patent, and/or from inducing

    others to infringe the ‘188 patent;

           (j)      An award to Honeywell of damages adequate to compensate for the

    infringement by Cree, in an amount to be proven at trial, together with pre-judgment and

    post-judgment interest and costs, as fixed by the Court;

           (k)      Trebling the damages due to Cree’s willful infringement, pursuant to 35

    U.S.C. § 284;

           (l)      A finding that, with respect to Cree, this case has been exceptional, and an

    award to Honeywell of its reasonable costs and attorney fees pursuant to 35 U.S.C. § 285;

    and

           (m)      An award to Honeywell of such other and further relief as the Court may

    deem just.




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    Dated: October 19, 2007       Respectfully submitted,

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